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                                              L.B.F. 9014-4

                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re: KELVIN LASHLEY                        :            Chapter 13
        ALICE LASHLEY
                                              :
              Debtors                         :            Case No. 25-10758-AMC


                                 *    *   *   *    *   *   *

                                 CERTIFICATION OF SERVICE

        I, Amy Lynn Bennecoff Ginsburg, certify that on 03/05/2025, I did cause a true and correct
copy of the documents described below to be served on the parties listed on the mailing list exhibit,
a copy of which is attached and incorporated as if fully set forth herein, by the means indicated and
to all parties registered with the Clerk to receive electronic notice via the CM/ECF system:

   • Initial Chapter 13 Plan



       I certify under penalty of perjury that the above document(s) was sent using the mode of
service indicated.


Date: 03/05/2025                                               /s/Amy Lynn Bennecoff Ginsburg
                                                               Amy Lynn Bennecoff Ginsburg
                                                               #275805
                                                               Ginsburg Law Group, P.C.
                                                               653 W. Skippack Pike, Suite 300-71
                                                               Blue Bell, PA 19422
                                                               (855) 978-6564
                                                               efilings@ginsburglawgroup.com


Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the
next page if necessary.)

Bridgecrest
1030 North Colorado
Gilbert, AZ 85233
Relationship of Party - Creditor
Via: CM/ECF 1st Class Mail                        Certified Mail        e-mail:
         Other:
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                                   Document         Page 11 of 13
Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the
next page if necessary.)


Capital One
Po Box 85064
Glen Allen, VA 2305
Relationship of Party - Creditor
Via:     CM/ECF          1st Class Mail       Certified Mail        e-mail:
         Other:


Chime Stride
Po Box 417
San Francisco, CA 94104
Relationship of Party - Creditor
Via:     CM/ECF          1st Class Mail       Certified Mail        e-mail:
         Other:


City of Philadelphia Water Revenue Bureau
1400 John F. Kennedy Blvd., 5th Floor
Philadelphia, PA 19107
Relationship of Party - Creditor
Via:     CM/ECF          1st Class Mail       Certified Mail        e-mail:
         Other:


Department of Education/Aidvantage
PO Box 9635
Wilkes Barre, PA 18773
Relationship of Party - Creditor
Via:     CM/ECF          1st Class Mail       Certified Mail        e-mail:
         Other:


Department of Education/Nelnet
121 S 13th St
Lincoln, NE 68508
Relationship of Party - Creditor
Via:     CM/ECF          1st Class Mail       Certified Mail        e-mail:
         Other:


Divisional Deputy City Solicitor
1401 John F. Kennedy Blvd.
Philadelphia, PA 19102
Relationship of Party – Notice Only
Via:     CM/ECF         1st Class Mail        Certified Mail        e-mail:
         Other:
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KML Law Group, P.C.
701 Market St #500019106
Philadelphia, PA 19106
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         Other:


Mission Lane
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Atlanta, GA 30348
Relationship of Party – Creditor
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


Mohela Servicing
633 Spirit Drive
Chesterfield, MO 63005
Relationship of Party – Creditor
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


Nationstar/Mr. Cooper
PO Box 65073
Dallas, TX 75262
Relationship of Party – Creditor
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


Navient
PO Box 9655
Wilkes Barre, PA 18773
Relationship of Party – Creditor
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


Select Portfolio Servicing
PO Box 65250
Salt Lake City, UT 84165-0250
Relationship of Party – Creditor
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:
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Shellpoint Mortgage Servicing
PO Box 650840
Greenville, SC 75265-0840
Relationship of Party – Creditor
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


Kelvin Alvin & Alice Germaine Lashley
4 Donny Brook Way
Collegeville, PA 19426
Relationship of Party – Debtors
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
190 N. Independence Mall West, Suite 701
Philadelphia, PA 19106
Relationship of Party – Trustee
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:


United States Trustee
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107
Relationship of Party – U.S. Trustee
Via:     CM/ECF         1st Class Mail      Certified Mail    e-mail:
         Other:
